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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

VIP AUTO GLASS, INC., individually, as
assignee, and on behalf of all those similarly
situated

       Plaintiff,                                CASE NO.: 8:16-CV-02012-MSS-JSS

       vs.                                       CLASS ACTION

GEICO GENERAL INSURANCE
COMPANY,

       Defendant.
                                             /

                   NOTICE OF FILING PROFFER OF EVIDENCE
                   IN SUPPORT OF DEFENDANT’S OPPOSITION
               TO PLAINTIFF’S MOTION FOR CLASS CERTIFICATION

       Defendant, GEICO General Insurance Company, gives notice of filing the following

Proffer of Evidence in Support of Defendant’s Opposition to Plaintiff’s Motion for Class

Certification filed June 13, 2017:

 Exhibit                        Date                           Description

1.                          5/26/17        Affidavit of Derryl Jones

2.                          6/6/17         Affidavit of Kimberly K. Riley

3.                          6/6/17         Affidavit of Richard P. Riley

4.                          6/12/17        Affidavit of Denise Bushee

5.                          6/13/17        Declaration of Susanna Eberling

             -1                            Composite Exhibit – Assignment of Benefit
                                           Exemplars
6.                          5/26/17        Deposition of Melvin Figueroa Rivera – Non-
                                           Confidential
             -1                            Amended Notice of Taking Deposition of the
                                           Corporate Representative of VIP Auto Glass, Inc.
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          -2                      First Amended Class Action Complaint and Demand
                                  for Jury Trial
          -3                      Notice of Service of Supplemental Answers to
                                  Interrogatories
          -4                      Plaintiff’s Response to Request for Production

          -5                      Copy of Work Order sent to VIP Auto Glass, Inc.

          -6                      Copy of Work Order sent to VIP Auto Glass, Inc.

          -7                      Copy of Work Order sent to VIP Auto Glass, Inc.

          -8                      Work Order and Invoice (containing purported
                                  assignment) for Derryl Jones

          -9                      Work Order sent to VIP Auto Glass, Inc. on behalf of
                                  Shauna Jones

7.                   5/18/17      Plaintiff’s Supplemental Answers to Defendant’s
                                  Interrogatories
8.                   6/8/17       Deposition of Derryl Jones

          -1                      Work Order and Invoice (containing purported
                                  assignment) for Derryl Jones

          -2                      Affidavit of Derryl Jones

          -3                      Photocopy of Derryl         Jones’ Driver’s   License
                                  (Redacted)

          -4                      Adjuster’s Alog Notes




                                   Respectfully submitted,

                                   /s/ John P. Marino
                                   John P. Marino (FBN 814539)
                                   Lindsey R. Trowell (FBN 678783)
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                                           Attorneys for Defendant
                                           GEICO General Insurance Company



                              CERTIFICATE OF SERVICE

       I certify that on June 13, 2017, I electronically filed the foregoing document with the

Clerk of the Court using the CM/ECF system that will send a notice of electronic filing to all

counsel of record.

                                           /s/ John P. Marino
                                           Attorney
